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                       F. HEWITT
BALLARD SPAHR LLP
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George E. Norcross, III, Gregory B.       :
Braca, and Philip A. Norcross,            :
                   Plaintiffs,            :
                                          :   IN THE COURT OF COMMON
            vs.                           :   PLEAS OF PHILADELPHIA
                                          :   COUNTY
Republic First Bancorp, Inc., Harry       :
Madonna, Andrew B. Cohen, Lisa                November Term, 2022
Jacobs, Harris Wildstein, Peter B.        :
Bartholow, and Benjamin C. Duster,        :   No. 02195
IV,                                       :
                                          :
                   Defendants.            :
                                          :
                                          :
                                          :

              DECLARATION OF PHILIP A. NORCROSS

     I, Philip A. Norcross, declare the following statements are true and correct

based on my personal knowledge.

     1.    I am a plaintiff in this action.

     2.    Plaintiffs have previously submitted an application to the

           Pennsylvania Department of Banking and Securities for approval to

           solicit proxies (the “Application”) in connection with the election of




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     directors at the upcoming annual meeting (and potential special

     meeting) of defendant Republic First Bancorp, Inc. (“Republic First”

     or the “Company”)

3.   The Application is still pending. The Department has indicated that

     the Application contains all of the required information for its

     assessment and approval.

4.   The public comment period for the Application closes on December

     8, 2022, at which point the Department of Banking and Securities may

     approve Plaintiffs’ Application at any time.

5.   Plaintiffs anticipate that approval will be granted shortly after the

     close of the public comment period.

6.   I was advised by my broker at Janney that I owned record shares of

     Republic First stock.

7.   Based on the Company’s acceptance of various requests (including

     two books and records requests and my nomination of Mr. Braca as a

     director when the custodian scheduled a special meeting to fill the

     Board seat vacated by Mr. Flocco’s death), I believed that the

     information from my broker was correct and that I was a record holder

     of Republic First stock.




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8.    A true and correct copy of the first of these requests, a books and

      records request dated June 13, 2022, was previously attached as

      Exhibit 10 to the Complaint in this action and is attached hereto as

      Exhibit B.

9.    A true and correct copy of the second of these requests, my nomination

      of Mr. Braca dated June 21, 2022, was previously attached as Exhibit

      8 to the Complaint in this action and is attached hereto as Exhibit C.

10.   A true and correct copy of the third of these requests, a books and

      records request dated October 25, 2022, was previously attached as

      Exhibit 21 to the Complaint in this action and is attached hereto as

      Exhibit D.

11.   On July 5, 2022, the Company delivered shareholder lists to my

      counsel in response to my first books and records request.

12.   In response to my October 25, 2022, books and records request, the

      Company recently delivered shareholder lists to Plaintiffs’ proxy

      solicitation firm.

13.   In the past six months, the Company’s share price has dropped from

      approximately $4.38 per share to $2.50 per share.




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           EXHIBIT B




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